From: Case
         "Royal  Bengal Logistics, INC.
               0:23-cr-60117-DSL        Administration"
                                     Document   279-1 <admin@rbl-inc.com>
                                                         Entered on FLSD Docket 05/28/2025 Page 1 of 3
Sent:    Mon, 8 May 2023 11:45:02 -0400 (EDT)
To:      art@rbl-inc.com; "ANINDYA ROY" <anindya.r@rbltransports.com>; "ATUNU ROY"
         <atunu.r@rbltransports.com>; "B C K" <bk@rbltransports.com>; "Bashar Sawaged"
         <bashar.s@rbltransports.com>; bdoprint@rbl-inc.com; "Billings Account" <acct@rbltransports.com>;
         "BRUCE GUILLAUME" <bruce.g@rbltransports.com>; "CASSANDRA LABISSIERE" <cassandra.l@rbl-
         inc.com>; chantale.d@rbl-inc.com; "CHETAN CHAVAN" <chetan.c@rbltransports.com>;
         coral.springs.all@rbl-inc.com; debashish.j@rbl-inc.com; dipti.a@rbl-inc.com; DOC@rbltransports.com;
         dof@rbltransports.com; "Don Provost" <don.p@rbl-inc.com>; "Dontae Bellony" <dontae.b@rbl-inc.com>;
         dc@rbltransports.com; "EKTA KAMBLE" <ekta.k@rbltransports.com>; "Elise Maulolo" <elise.m@rbl-
         inc.com>; "Elizabeth Hueber" <elizabeth.h@rbltransports.com>; "Esai Ambo" <esai.a@rbltransports.com>;
         fritz.c@rbl-inc.com; gary.s@rbl-inc.com; george.e@rbl-inc.com; gina.a@rbl-inc.com; "Greg Jones"
         <greg.j@rbl-inc.com>; humanresources@rbl-inc.com; ignacio.o@rbl-inc.com; ins.mx@rbltransports.com;
         "Jacob Calderon" <jacob.c@rbl-inc.com>; "Jeremy Perkins (Dir of Human Resource)"
         <jeremy.p@rbltransports.com>; reimbursements@rbltransports.com; "Jessenia Soto" <jessenia.s@rbl-
         inc.com>; "JESTINA SINGLETARY" <jestina.s@rbltransports.com>; "July Sanchez (D.O.O)"
         <july.s@rbltransports.com>; "Karen Wolsey" <karen.w@rbl-inc.com>; "KEYON ANDREWS"
         <keyon.a@rbl-inc.com>; "KRISH MANOHAR" <krish.m@rbl-inc.com>; "Lacy Elliott" <lacy.e@rbl-
         inc.com>; "LAINE DORVILLIERS" <laine.d@rbltransports.com>; "marlin laguerre" <marlin.l@rbl-
         inc.com>; "MEGHDEEP NAG" <meghdeep.n@rbltransports.com>; "Nate Lasseur" <nate.l@rbl-inc.com>;
         "Nicole Kissoon" <nicole.k@rbl-inc.com>; nicole.k@rbltransports.com; "Operations Control"
         <operations@rbltransports.com>; pod@rbltransports.com; patricia.r@rbl-inc.com
Subject: CEO - Royal Bengal Logistics Inc.
                                                                                                       23-60117-CR-DSL




                                                                                                          26-15
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CHIEF EXECUTIVE OFFICER / General Counsel.




Dear All,




It is my absolute pleasure to announce that I have made a decision to appoint Elizabeth Hueber as the CEO of Royal bengal
Logistics Inc; Effective 4th of June, 2023. Her function will also include continuing as general Council for the company for
any legal Case
          reviews and other legal matters.
                0:23-cr-60117-DSL          I have full279-1
                                       Document        confidence in myondecision
                                                             Entered              to appoint
                                                                          FLSD Docket        her as CEO,Page
                                                                                          05/28/2025    her role will
                                                                                                              3 of 3 focus
on developing the company's operation, revenue, and compliance with all applicable DOT regulations.

Business Development will remain Independent and it will report to the President and Vice President, However, basic
synergy in operation will remain intact with BDO.

Her role will be Supported By V.P Ricardo, VP Ricardi, and the undersigned.


Congratulations!!!! Elizabeth - I hope you will take this company to a billion-dollar revenue per quarter one day.




 If you have any questions or comments don't hesitate to email me.



 SANJAY SINGH – President

 9600 WEST SAMPLE ROAD SUITE 100, Coral Springs FL-33065

 Office: 954-228-7277 - 404

 Direct: 510-342-6770

 Email: Primary - admin@rbl-inc.com   | admin@rbltransports.com. - Both Email add will be received in Primary email.

 www.rbl-inc.com

 ROYAL BENGAL LOGISTICS, INC. | DOT NUM: 3149658 | MC: 104106
